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Message

From: Wooden-Aguilar, Helena [Wooden-Aguilar.Helena@epa.gov]
Sent: 3/24/2025 12:56:23 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]

Subject: FW: EJ Grant Closeouts

See below. Do you have any thoughts? I assumed the names on the list (under tribal) are doing tribal grants. Are they

doing this function more than 50%?

Helena Wooden-Aguilar

Deputy Assistant Administrator of Workforce Solutions
Office of Mission Support

US Environmental Protection Agency

202-564-0792 (Work)

202-302-6846 (Cell)

wooden-aguilar.helena@epa.gov

»OMS

OFFICE OF MISSION SUPPORT

U.S, ENVIRONMENTAL PROTECTION AGENCY

They can because we do!

From: Smith, Kathryn <Smith.Kathryn@epa.gov>

Sent: Monday, March 24, 2025 8:53 AM

To: Wooden-Aguilar, Helena <Wooden-Aguilar. Helena@epa.gov>; Wells, Krysti <Wells.Krysti@epa.gov>
Cc: Jones, Laura <Jones.Laura@epa.gov>; Mak, Tina <Mak.Tina@epa.gov>

Subject: RE: EJ Grant Closeouts

Good morning,
Since we know these people didn’t do solely tribal grants, I think we have to ask a few questions:

1) Do we need any of the EJ people to keep the tribal grants going or could others absorb that work?
2) If no, how many FTE would be needed from EJ to support the continuing tribal work?

Sincerely,
Kathryn

Kathryn Smith

Acting Deputy Director

Office of Human Capital Operations (OHCO)
Office of Mission Support (OMS)

U.S. Environmental Protection Agency
Office: 919-541-4216 Cell: 919-698-0014

EPA_00297004
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ak ovale LA, Re The dala!

If you receive this email outside of your normal working hours, please know that I do not expect a response until you are
back at work during your normal hours.

From: Wooden-Aguilar, Helena <Wooden-Aguilar. Helena@epa.gov>

Sent: Monday, March 24, 2025 8:44 AM

To: Wells, Krysti <Wells.Krysti@epa.gov>; Smith, Kathryn <Smith.Kathryn@epa.gov>
Cc: Jones, Laura <Jones.Laura@epa.gov>; Mak, Tina <Mak.Tina@epa.gov>

Subject: FW: EJ Grant Closeouts

See below and attached. I need to work this up the chain but wanted to share. Also, see the point re tribal grants. Iam
assuming we can use this to ensure that the tribal grants and po’s continue to work.

Helena Wooden-Aguilar

Deputy Assistant Administrator of Workforce Solutions
Office of Mission Support

US Environmental Protection Agency

202-564-0792 (Work)

202-302-6846 (Cell)

wooden-aguilar.helena@epa.gov

2 OFFICE OF MISSION SUPPORT
U.S, ENVIRONMENTAL PROTECTION AGENCY

They can because we do!

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Monday, March 24, 2025 8:35 AM

To: Wooden-Aguilar, Helena <Wooden-Aguilar. Helena@epa.gov>
Subject: EJ Grant Closeouts

Helena, Melissa and | connected and here’s the responses to the two pieces of information that you requested
(response in red).

1. What are the specific number of POs that we would need reassigned from OEJECR and EJ divisions in the
regions to closeout all the EJ grants?

We would not need any additional staff in OGD to closeout all the EJ grants. This is something we can manage with
existing staff levels.

2. For the list of the ~140 EJ project officers that we pulled a while back, do any of the POs work on tribal grants
(that were not included in the list that leadership directed us to terminate last week)? If so, who are the POs and
what are the grants?

Attached.

EPA_00297005
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 3 of 72

Message

From: Sanders, Amy [Sanders.Amy@epa.gov]

Sent: 4/4/2025 3:51:27 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]

cc: Dolan, Sheila [dolan.sheila@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]; Alford, Cecilia [alford.cecilia@epa.gov]
Subject: FW: Grant Termination Notice

Attachments: Re: Rescinding the Termination of EPA Assistance Award: SOUTHWESTERN MICHIGAN COMMISSION - SFOOE04058;
RE: Review Notes of 3 Terminated Community Change Grants - R5

Dan,

The award in question is SOUTHWESTERN MICHIGAN COMMISSION — 5FOOE04058. This was terminated
(mistakenly on our part, as there was some confusion, regarding T&Cs and multiple links). The award was
terminated on March 25th. After communications with Melissa (see attached), the award termination was
rescinded on April 1st. No updated award will be sent to the recipient per OMS guidance, but there was an
email stating we were rescinding the termination (email attached).

Please let us know if there is different/further action you would like us to take.
Amy

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, April 4, 2025 9:06 AM

To: Sanders, Amy <Sanders.Amy@epa.gov>; Alford, Cecilia <alford.cecilia@epa.gov>
Cc: Wise, Melissa <wise.melissa@epa.gov>

Subject: FW: Grant Termination Notice

Amy/ Cecilia, can you help me unwind this one? Since the award was on January 7, my thought is that we would not
have reached out to the recipient in the first place to tell them they were terminated because you all are awaiting
direction from us on how to handle the post-October 1 terminations. But clearly someone contacted them and this has
caused some confusion. | explained to OCIR that there is no mistake—this grant will get terminated as it is on our list.

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Friday, April 4, 2025 9:58 AM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Ok

Do we know if anyone has since told the with the recipient that this was not sent in error?

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, April 4, 2025 9:19 AM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: Re: Grant Termination Notice

No change. We are terminating the grant. Unless Travis tells us to do otherwise, this was on our list to terminate.

EPA_00297006
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It is also directly tied to an environmental justice grant program and the President's Executive Order was very clear on
the direction we were to take on such funding.

Dan
202-355-4943

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Friday, April 4, 2025 9:13 AM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Is there any update on this grant?

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Wednesday, April 2, 2025 1:42 PM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Here’s our statement on ones we have on the list to terminate but have not yet because we are working with OGC ona
strategy to mitigate risk:

As with any change in Administration, the agency is reviewing its awarded grants to ensure each is an
appropriate use of taxpayer dollars and to understand how those programs align with Administration
priorities. The agency’s review is ongoing.

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Wednesday, April 2, 2025 1:39 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Ce: Barja, Jaide <Barja Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Yikes. Thanks for helping to make sure we are conveying accurate information.

It is accurate for me to tell the Congressman that his project is under review?

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Wednesday, April 2, 2025 1:29 PM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Ce: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: RE: Grant Termination Notice

We did not make a mistake in our terminations.

Someone from the program communicated incorrect information and | have reached out to that program and let the
know that they are not to communicate anything on terminations without going through me and my team.

EPA_00297007
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While we have not terminated this grant yet, it is on our list and we will. (It has the newer termination T&C so we need
to determine our plan with OGC.)

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Wednesday, April 2, 2025 1:20 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: FW: Grant Termination Notice

Was this an error? | don’t see this on the list but will defer to you all?

FYSA - the ADM is meeting with Rep. Huizenga next week.

From: Fortin, Remy <Remy.Fortin@mail.house.gov>
Sent: Wednesday, April 2, 2025 10:59 AM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>
Subject: RE: Grant Termination Notice

Caution: This email originated from outside EPA, please exercise additional caution when deciding whether to open
attachments or click on provided links.

Hi Sarah — I’m hearing the termination notice was sent out in error? Can you confirm?

See this tweet: https://x.com/marcus4polytics/status/19074 161213234504 13

REMY FORTIN

Legislative Director

Representative Bill Huizenga (MI-04)
Bi | | Hulcenae ae 2232 Rayburn HOB | Washington, DC 20515
Miehisan's 44h Gists iat 202-225-4401 | huizenga.house.gov

From: Fortin, Remy

Sent: Friday, March 28, 2025 11:17 AM
To: talmage.sarah@epa.gov

Subject: RE: Grant Termination Notice

REMY FORTIN

Legislative Director

Representative Bill Huizenga (MI-04)

2232 Rayburn HOB | Washington, DC 20515
202-225-4401 | huizenga.house.gov

BiliHuizene

Michigan's 4th District

7%

From: Fortin, Remy
Sent: Friday, March 28, 2025 10:04 AM

EPA_00297008
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 6 of 72

To: talmage.sarah@epa.gov
Subject: RE: Grant Termination Notice

Hi Sarah — Would you be able to chat briefly today? There’s an item tomorrow for the Congressman that relates to this.
(202) 604-2422

Best,
Remy
REMY FORTIN
Legislative Director
Representative Bill Huizenga (MI-04)
Bi Huizenee’® 2232 Rayburn HOB | Washington, DC 20515
202-225-4401 | huizenga.house.gov
Michigan's 4th District

From: Fortin, Remy

Sent: Wednesday, March 26, 2025 7:01 PM
To: talmage.sarah@epa.gov

Subject: Grant Termination Notice

Hi Sarah — We just got a big grant termination notice in our district. Hoping to hop on the phone for a couple minutes
whenever you get a chance. My work cell is (202) 604-2422. Thanks.

Best,
Remy
REMY FORTIN
Legislative Director
Representative Bill Huizenga (MI-04)
Bi | | Hulzonas ae 2232 Rayburn HOB | Washington, DC 20515
Michigan's 4th District 202-225-4401 | huizenga.house.gov

EPA_00297009
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 7 of 72

Message

\From: Marcy Hamilton

[hamiltonm@swmopc.org]
Sent: 4/2/2025 12:59:25 PM
To: Sykes, Karen

[Sykes.Karen@epa.gov]
ICC: Kozak, Kendra
[Kozak.Kendra@epa.gov];
Sample, Amber
[Sample.Amber@epa.gov];
Sykes, Karen
[Sykes.Karen@epa.gov];
Tsing-Choy, Kathy [Tsing-
Choy.Kathy@epa.gov]
Subject:Re: Rescinding the
Termination of EPA
Assistance Award:
SOUTHWESTERN
MICHIGAN COMMISSION -
5FOOE04058

Thank you for this update. Will the funds be in ASAP for us to access them to reimburse grant expenses? Is
there anything we need to do on our end?
Thank you,

Marcy

Caution: This email originated from outside EPA, please exercise additional
caution when deciding whether to open attachments or click on provided
links.

Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android

From: Sykes, Karen <Sykes.Karen@epa.gov>

Sent: Tuesday, April 1, 2025 5:57:15 PM

To: Marcy Hamilton <hamiltonm@swmpc.org>

Ce: Kozak, Kendra <Kozak.Kendra@epa.gov>; Sample, Amber <Sample.Amber@epa.gov>; Sykes, Karen
<Sykes.Karen@epa.gov>; Tsing-Choy, Kathy <Tsing-Choy.Kathy@epa.gov>

Subject: RE: Rescinding the Termination of EPA Assistance Award: SOUTHWESTERN MICHIGAN COMMISSION -
5FOOE04058

Rescinding the Termination of EPA Assistance Award

Dear EPA Grant Recipient:

It has been brought to my attention the Termination Letter you received concerning the
U.S. Environmental Protection Agency award 00E04058 was accidently sent. We are

taking corrective action to immediately rescind the termination.

If you have any questions, feel free to contact me.

EPA_00297010
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 8 of 72
Thank You

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes. karen@epa.gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that I do not expect a
response until you are back at work during your normal hours.

From: Marcy Hamilton <hamiltonm@swmpc.org>

Sent: Sunday, March 30, 2025 9:33 AM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Cc: Kozak, Kendra <Kozak.Kendra@epa.gov>; Sample, Amber <Sample.Amber@epa.gov>

Subject: FW: Termination of EPA Assistance Award: SOUTHWESTERN MICHIGAN COMMISSION - 5FOOEO4058

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Good morning, Will SWMPC and its partners be able to be reimbursed for the costs incurred to date and for
upcoming reporting on our grant? We completed the required training and received approval of our pre-award
certification. Will the funds be available in ASAP for us to draw down those costs that were incurred?

Thank you,

Marcy

Marcy Hamilton, Senior Planner/Deputy Executive Director
Southwest Michigan Planning Commission

376 W Main Street, Suite 130, Benton Harbor, MI 49022
269-925-1137 x1525

hamiltonm@swmopc.org

www.swmpc.org

SOUTHWEST MICHIGAN PLANNING COMMISSION

From: Sykes, Karen <Sykes.Karen@epa.gov>

Sent: Tuesday, March 25, 2025 6:30:09 PM

To: John Egelhaaf <egelhaafj@swmpc.org>

Ce: Kozak, Kendra <Kozak.Kendra@epa.gov>; Sample, Amber <Sample.Amber@epa.gov>; Sykes, Karen

EPA_00297011
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 9 of 72

<Sykes.Karen@epa.gov>
Subject: Termination of EPA Assistance Award: SOUTHWESTERN MICHIGAN COMMISSION - 5FOOE04058

You don't often get email from sykes.karen@epa.gov. Learn why this is important
RE: Termination of EPA Assistance Award

Dear EPA Grant Recipient:

Attached is your Termination of Award from the U.S. Environmental Protection Agency. The Federal Award
Identification Number (FAIN) is on your agreement on the top of page one and in the subject line of this message. Please
use this number in communicating with EPA about this grant.

Please carefully review the assistance agreement and the terms and conditions.

We recommend you forward the award document to any other personnel in your organization requiring information about
the award. The recipient's signature is not required on this agreement.

For information regarding payments and financial reports, please refer to the following website at
https://www.epa.gov/financial/grants. Additionally, the RTP Finance Center’s email address is rtpfc-grants@epa.gov.

If you have any questions, please contact Karen Sykes, Region 5 Grants Management Officer at
sykes.karen@epa.gov.

Sincerely,

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes.karen(@epa.gov

USEPA, Region 5

Attachments:
Official EPA Award Document
Termination Memo

Please note that | sent this at a time that was convenient for me without expectation for a response outside of

business hours. If you receive this email outside of your normal working hours, please know that I do not expect a
response until you are back at work during your normal hours.

EPA_00297012
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 10 of 72

Message

From: Wise, Melissa [wise.melissa@epa.gov]

Sent: 4/1/2025 5:37:36 PM

To: Sykes, Karen [Sykes.Karen@epa.gov]

cc: Sanders, Amy [Sanders.Amy@epa.gov]; Dolan, Sheila [dolan.sheila@epa.gov]; Coogan, Daniel
[Coogan.Daniel@epa.gov]; Tsing-Choy, Kathy [Tsing-Choy.Kathy@epa.gov]

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Thank you, Karen.

Melissa

From: Sykes, Karen <Sykes.Karen@epa.gov>

Sent: Tuesday, April 1, 2025 12:54 PM

To: Wise, Melissa <wise.melissa@epa.gov>

Cc: Sanders, Amy <Sanders.Amy@epa.gov>; Dolan, Sheila <dolan.sheila@epa.gov>; Coogan, Daniel
<Coogan.Daniel@epa.gov>; Tsing-Choy, Kathy <Tsing-Choy.Kathy@epa.gov>; Sykes, Karen <Sykes.Karen@epa.gov>
Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Thank you, Melissa,
I spoke with Chris, R6 GMO, on yesterday and he provided information and instructions for NGGS.

Kathy, I will get these awards updated and provide confirmation once completed.

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes.karen@epa.gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that I do not expect a
response until you are back at work during your normal hours.

From: Wise, Melissa <wise.melissa@epa.gov>

Sent: Tuesday, April 1, 2025 11:51 AM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Cc: Sanders, Amy <Sanders.Amy@epa.gov>; Dolan, Sheila <dolan.sheila@epa.gov>; Coogan, Daniel
<Coogan.Daniel@epa.gov>; Tsing-Choy, Kathy <Tsing-Choy.Kathy@ epa.gov>

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Hi Karen,

EPA_00297013
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 11 of 72

Okay, thank you for verifying. You should proceed to rescind these terminations. Also, I’m looping in Kathy Tsing-
Choy for her awareness to update Column H in the termination spreadsheet (or you can do that since the spreadsheet is a
shared document).

Here is an example of what the Region 6 GMO sent to the recipient (attached) to rescind.

Thank you,
Melissa

From: Sykes, Karen Sykes.Karen@epa.gov

Sent: Tuesday, April 1, 2025 12:44 PM

To: Wise, Melissa wise.melissa@epa.gov

Ce: Sykes, Karen <Sykes.Karen@epa.gov>

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Hi Melissa

In checking the award regarding the administrative general t&c dated 10/1/24, overlooked the programmatic t&cs which
contains an additional link that referenced the FY 24 general terms & conditions.

I have went back and checked the programmatic t&cs, yes, the termination of these 3 awards should be rescinded as they
link to the administrative general t&c dated 10/1/24..

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes.karen(@epa. gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that I do not expect a
response until you are back at work during your normal hours.

From: Wise, Melissa <wise.melissa@epa.gov>

Sent: Tuesday, April 1, 2025 11:23 AM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Hi Karen,

Consistent with my message to the GMOs on 3/25 (attached), I requested that GMOs double-check Column H to
determine if the October 1, 2024, were, in fact, incorporated.

Please review your grants to determine if these should be rescinded. Please let me know what your analysis reveals.

Thank you,
Melissa

From: Sykes, Karen <Sykes.Karen@epa.gov>
Sent: Monday, March 31, 2025 3:32 PM

EPA_00297014
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 12 of 72

To: Wise, Melissa <wise.melissa@epa.gov>
Ce: Sykes, Karen <Sykes.Karen@epa.gov>
Subject: FW: Review Notes of 3 Terminated Community Change Grants - R5

Hi Melissa

RS, reaching out for assistance regarding 3 awards that we terminated on last week.

Jacob Burney reached out to my RA, so I have been instructed by my DD/SRO regarding these.
Question — can these be rescinded based on the programmatic t&cs he references with his chart?
Thank you.

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes. karen@epa.gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that | do not expect a
response until you are back at work during your normal hours.

From: Sanders, Amy <Sanders.Amy@epa.gov>

Sent: Monday, March 31, 2025 2:07 PM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Cc: Dolan, Sheila <dolan.sheila@epa.gov>

Subject: FW: Review Notes of 3 Terminated Community Change Grants - R5

Give me a call when you get a min.

From: Burney, Jacob <Burney.Jacob@epa.gov>

Sent: Monday, March 31, 2025 12:29 PM

To: Newton, Cheryl <Newton.Cheryl@epa.gov>

Cc: Segovia, Theresa <Segovia. heresa@epa.gov>

Subject: Review Notes of 3 Terminated Community Change Grants - R5

Greetings Cheryl:
FYI — Region 5 staff told me today that 3 of the Region 5 CCGs were sent termination notices last week.

These termination notices appear to have been sent in error. Last week, Region 6 had similarly sent out several CCG
terminations with similar issues as the three you have in Region 5. Region 6 rescinded those terminations. For the 3
Region 5 terminations, while the award documents do link to the 10/1/2023 General Administrative Terms & Conditions,
all 3 award documents also link to the 10/1/2024 updated General Administrative Conditions and the CCG Programmatic
T&Cs which has an explicit termination provision precluding unilateral termination for change in agency priorities.
Region 6 rescinded a termination for this exact scenario.

EPA_00297015
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 129-4

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I plan to discuss with Karen Sykes (R5 GMO) tomorrow. She’s busy today. Let me know if you have any concerns /
want to be added to the meeting / or just want me to let you know what next steps are after I discuss with Karen.

I’ve included my review notes for all 3 terminated grants below and attached the original award documents:

Program
Code

Grant
Family
(FAIN)

Was the
Updated
Termination
T&C after
10/1/2024
included?

Applicant Name

Details

SF

00E04045

Ne Yes

CITY OF EVANSVILLE

In the original award document dated
12/04/2024, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, a link to
the 10/1/2024 General Admin T&Cs is
included on page 37 of the document
along with a link to all the CCG
programmatic T&Cs. The CCG
Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the
T&Cs or adequate evidence of waste,
fraud, and abuse.

SF

00E04044

Ne Yes

ECOWORKS

In the original award document dated
12/04/2024, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, under the
Programmatic T&C section a link to the
10/1/2024 General Admin T&Cs is
included on page 8 of the award
document along with a link to all the
CCG programmatic T&Cs. The CCG
Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the
T&Cs or adequate evidence of waste,
fraud, and abuse.

SF

OOE04058

Ne Yes

smc6045 - SOUTHWESTERN
MICHIGAN COMMISSION

In the original award document dated
1/07/2025, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, under the
Programmatic T&C section a link to the
10/1/2024 General Admin T&Cs is
included on page 9 along with a link to
all the CCG programmatic T&Cs. The
CCG Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except

for substantial noncompliance with the

EPA_00297016

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 14 of 72

&Cs or adequate evidence of waste,
raud, and abuse.

Regards,
Jacob

Jacob J. Burney | Office Director (Acting) | Office of Community Support | Tel:202.564.2907 | US EPA 1200 Pennsylvania Ave. NW
(2201A) Washington, DC 20460 | Burney. Jacob@epa.gov

EPA_00297017
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 15 of 72

Message

From: Wise, Melissa [wise.melissa@epa.gov]
Sent: 4/4/2025 5:24:43 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]
Subject: RE: Grant Termination Notice

Attachments: RE: Review Notes of 3 Terminated Community Change Grants - R5; RE: Review Notes of 3 Terminated Community
Change Grants - R5

Hi Dan,
This was one of the three grants R5 terminated in error. See first attachment.

1) RS failed to follow my instructions to verify the status of T&C (pre/post Oct. 1).

2) Jacob was involved.
3) The grant termination was rescinded (second attachment).
Melissa

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, April 4, 2025 10:06 AM

To: Sanders, Amy <Sanders.Amy@epa.gov>; Alford, Cecilia <alford.cecilia@epa.gov>
Cc: Wise, Melissa <wise.melissa@epa.gov>

Subject: FW: Grant Termination Notice

Amy/ Cecilia, can you help me unwind this one? Since the award was on January 7, my thought is that we would not
have reached out to the recipient in the first place to tell them they were terminated because you all are awaiting
direction from us on how to handle the post-October 1 terminations. But clearly someone contacted them and this has
caused some confusion. | explained to OCIR that there is no mistake—this grant will get terminated as it is on our list.

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Friday, April 4, 2025 9:58 AM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Ok

Do we know if anyone has since told the with the recipient that this was not sent in error?

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, April 4, 2025 9:19 AM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: Re: Grant Termination Notice

No change. We are terminating the grant. Unless Travis tells us to do otherwise, this was on our list to terminate.

It is also directly tied to an environmental justice grant program and the President's Executive Order was very clear on
the direction we were to take on such funding.

Dan

EPA_00297018
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202-355-4943

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Friday, April 4, 2025 9:13 AM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja. Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Is there any update on this grant?

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Wednesday, April 2, 2025 1:42 PM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Here’s our statement on ones we have on the list to terminate but have not yet because we are working with OGC ona
strategy to mitigate risk:

As with any change in Administration, the agency is reviewing its awarded grants to ensure each is an
appropriate use of taxpayer dollars and to understand how those programs align with Administration
priorities. The agency’s review is ongoing.

From: Talmage, Sarah <Talmage.Sarah@epa.gov>

Sent: Wednesday, April 2, 2025 1:39 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Ce: Barja, Jaide <Barja Jaide@epa.gov>

Subject: RE: Grant Termination Notice

Yikes. Thanks for helping to make sure we are conveying accurate information.

It is accurate for me to tell the Congressman that his project is under review?

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Wednesday, April 2, 2025 1:29 PM

To: Talmage, Sarah <Talmage.Sarah@epa.gov>; Molina, Michael <molina.michael@epa.gov>
Cc: Barja, Jaide <Barja.Jaide@epa.gov>

Subject: RE: Grant Termination Notice

We did not make a mistake in our terminations.

Someone from the program communicated incorrect information and | have reached out to that program and let the
know that they are not to communicate anything on terminations without going through me and my team.

While we have not terminated this grant yet, it is on our list and we will. (It has the newer termination T&C so we need
to determine our plan with OGC.)

From: Talmage, Sarah <Talmage.Sarah@epa.gov>
Sent: Wednesday, April 2, 2025 1:20 PM

EPA_00297019
2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 129-4

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Molina, Michael <molina.michael@epa.gov>

Ce: Barja, Jaide <Barja. Jaide@epa.gov>
Subject: FW: Grant Termination Notice

Was this an error? | don’t see this on the list but will defer to you all?

FYSA - the ADM is meeting with Rep. Huizenga next week.

Page 17 of 72

From: Fortin, Remy <Remy.Fortin@mail.house.gov>

Sent: Wednesday, April 2, 2025 10:59 AM
To: Talmage, Sarah <Talmage.Sarah@epa.gov>

Subject: RE: Grant Termination Notice

Caution: This email originated from outside EPA, please exercise additional caution when deciding whether to

open attachments or click on provided links.

Hi Sarah — I’m hearing the termination notice was sent out in error? Can you confirm?

See this tweet: https://x.com/marcus4polytics/status/1907416121323450413

BillHuizenes

Michigan's 4th District

2%

REMY FORTIN

Legislative Director

Representative Bill Huizenga (MI-04)

2232 Rayburn HOB | Washington, DC 20515
202-225-4401 | huizenga.house.gov

From: Fortin, Remy

Sent: Friday, March 28, 2025 11:17 AM
To: talmage.sarah@epa.gov

Subject: RE: Grant Termination Notice

<

BiliHuizonoa@® é

Michigan's 4th District

REMY FORTIN

Legislative Director

Representative Bill Huizenga (MI-04)

2232 Rayburn HOB | Washington, DC 20515
202-225-4401 | huizenga.house.gov

From: Fortin, Remy

Sent: Friday, March 28, 2025 10:04 AM
To: talmage.sarah@epa.gov

Subject: RE: Grant Termination Notice

Hi Sarah — Would you be able to chat briefly today? There’s an item tomorrow for the Congressman that relates to this.

(202) 604-2422

Best,

EPA_00297020
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 18 of 72

Remy
REMY FORTIN
Legislative Director
Representative Bill Huizenga (MI-04)
Bi | | Huizenes ag 2232 Rayburn HOB | Washington, DC 20515
202-225-4401 | huizenga.house.gov
Michigan's 4th District

From: Fortin, Remy

Sent: Wednesday, March 26, 2025 7:01 PM
To: talmage.sarah@epa.gov

Subject: Grant Termination Notice

Hi Sarah — We just got a big grant termination notice in our district. Hoping to hop on the phone for a couple minutes
whenever you get a chance. My work cell is (202) 604-2422. Thanks.

Best,
Remy
REMY FORTIN
Legislative Director
Representative Bill Huizenga (MI-04)
Bi | | Huizenga ag 2232 Rayburn HOB | Washington, DC 20515
Wiechisan’s wep bistriet 202-225-4401 | huizenga.house.gov

EPA_00297021
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 19 of 72

Message

From: Wise, Melissa [wise.melissa@epa.gov]

Sent: 4/1/2025 4:23:06 PM

To: Sykes, Karen [Sykes.Karen@epa.gov]

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Attachments: FW: PLEASE RESUME: Grant Cancellations/Terminations

Hi Karen,

Consistent with my message to the GMOs on 3/25 (attached), I requested that GMOs double-check Column H to
determine if the October 1, 2024, were, in fact, incorporated.

Please review your grants to determine if these should be rescinded. Please let me know what your analysis reveals.

Thank you,
Melissa

From: Sykes, Karen <Sykes.Karen@epa.gov>

Sent: Monday, March 31, 2025 3:32 PM

To: Wise, Melissa <wise.melissa@epa.gov>

Ce: Sykes, Karen <Sykes.Karen@epa.gov>

Subject: FW: Review Notes of 3 Terminated Community Change Grants - R5

Hi Melissa

RS, reaching out for assistance regarding 3 awards that we terminated on last week.

Jacob Burney reached out to my RA, so I have been instructed by my DD/SRO regarding these.
Question — can these be rescinded based on the programmatic t&cs he references with his chart?
Thank you.

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes.karen@epa.gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that I do not expect a
response until you are back at work during your normal hours.

From: Sanders, Amy <Sanders.Amy@epa.gov>

Sent: Monday, March 31, 2025 2:07 PM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Cc: Dolan, Sheila <dolan.sheila@epa.gov>

Subject: FW: Review Notes of 3 Terminated Community Change Grants - R5

EPA_00297022
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 20 of 72

Give me a call when you get a min.

From: Burney, Jacob <Burney.Jacob@epa.gov>

Sent: Monday, March 31, 2025 12:29 PM

To: Newton, Cheryl <Newton.Cheryl@epa.gov>

Cc: Segovia, Theresa <Segovia. heresa@epa.gov>

Subject: Review Notes of 3 Terminated Community Change Grants - R5

Greetings Cheryl:
FYI — Region 5 staff told me today that 3 of the Region 5 CCGs were sent termination notices last week.

These termination notices appear to have been sent in error. Last week, Region 6 had similarly sent out several CCG
terminations with similar issues as the three you have in Region 5. Region 6 rescinded those terminations. For the 3
Region 5 terminations, while the award documents do link to the 10/1/2023 General Administrative Terms & Conditions,
all 3 award documents also link to the 10/1/2024 updated General Administrative Conditions and the CCG Programmatic
T&Cs which has an explicit termination provision precluding unilateral termination for change in agency priorities.
Region 6 rescinded a termination for this exact scenario.

I plan to discuss with Karen Sykes (R5 GMO) tomorrow. She’s busy today. Let me know if you have any concerns /
want to be added to the meeting / or just want me to let you know what next steps are after I discuss with Karen.

I’ve included my review notes for all 3 terminated grants below and attached the original award documents:

Was the Details
Updated
Termination
Grant T&C after

Program | Family 10/1/2024
Code (FAIN) included? Applicant Name

In the original award document dated
12/04/2024, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, a link to
the 10/1/2024 General Admin T&Cs is
included on page 37 of the document
along with a link to all the CCG
programmatic T&Cs. The CCG
Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the
T&Cs or adequate evidence of waste,
5F 00E04045 Ne Yes CITY OF EVANSVILLE fraud, and abuse.

In the original award document dated
12/04/2024, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, under the
Programmatic T&C section a link to the
10/1/2024 General Admin T&Cs is

5F 00E04044 Ne Yes ECOWORKS included on page 8 of the award

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 21 of 72

document along with a link to all the
CCG programmatic T&Cs. The CCG
Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the
T&Cs or adequate evidence of waste,
fraud, and abuse.

In the original award document dated
1/07/2025, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, under the
Programmatic T&C section a link to the
10/1/2024 General Admin T&Cs is
included on page 9 along with a link to
all the CCG programmatic T&Cs. The
CCG Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the

smc6045 - SOUTHWESTERN T&Cs or adequate evidence of waste,
5F 00E04058 Ne Yes MICHIGAN COMMISSION fraud, and abuse.
Regards,
Jacob

Jacob J. Burney | Office Director (Acting) | Office of Community Support | Tel:202.564.2907 | US EPA 1200 Pennsylvania Ave. NW
(2201A) Washington, DC 20460 | Burney. Jacob@epa.gov

EPA_00297024
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 22 of 72

Message

From: Wise, Melissa [wise.melissa@epa.gov]

Sent: 3/25/2025 8:53:31 PM

To: Tocci, Brian F. [Tocci.Brian@epa.gov]; O'Neal Jr., Rudnell R. [ONeal.Rudnell@epa.gov]; Rose, Kenneth
[Rose.Kenneth@epa.gov]; Shelmon, Shantel [Shelmon.Shantel@epa.gov]; Sykes, Karen [Sykes.Karen@epa.gov];
Watkins, Christopher [Watkins.Christopher@epa.gov]; Rawls, Whitney [rawls.whitney@epa.gov]; Hulstein, Sarah
[hulstein.sarah@epa.gov]; Seeger, Lindsay [seeger.lindsay@epa.gov]; Mendiola, Angela
[Mendiola.Angela@epa.gov]; Johnson, Peggy D. [johnson.peggyd@epa.gov]; Manion, Andrea
[Manion.Andrea.L@epa.gov]; Schindel, Phillip [Schindel.Phillip@epa.gov]; Brown, Devon [Brown.Devon@epa.gov]

Subject: FW: PLEASE RESUME: Grant Cancellations/Terminations

Importance: — High

Good afternoon, GMOs,
| am asking for your assistance. Please verify entries in Column H of the spreadsheet (linked below).

This afternoon, Shantel noted that a grant in R4 showing “No,” was actually “Yes,” and should have been
flagged with “DO NOT TERMINATE.” Fortunately, she caught this, alerted me, we fixed the spreadsheet, and
the termination was stopped.

While OGD has made every attempt to confirm the validity of the entries in Column H, I’m asking you to please
verify those entries.

Thank you for your attention and cooperation.

Melissa

From: Wise, Melissa

Sent: Thursday, March 20, 2025 1:53 PM

To: OMS-OGD-GMOs Only <OMS-OGD-GMOs-Only@epa.gov>; Lloyd, Keva <Lloyd.Keva@epa.gov>; Phillips, Lashaun
<Phillips.Lashaun@epa.gov>

Cc: Regional Mission Support Division - Directors <Regional_ Mission_Support_Division_Directors@epa.gov>; Regional
Mission Support Division - Deputy Directors <Regional_Mission_Support_Division_Deputy_Directors@epa.gov>; Coogan,
Daniel <Coogan.Daniel@epa.gov>; Jennette, Vonda <Jennette. Vonda@epa.gov>

Subject: PLEASE RESUME: Grant Cancellations/Terminations

Importance: High

Good afternoon, GMOs,

Please resume grant cancellations/terminations as shared in the spreadsheet below, noting the instructions to
GMOs in Column I.

:) Termination Awarded and Unawarded List March 10.xlsx

** IMPORTANT** - Please do not terminate any grant identified in the spreadsheet under Column |
labelled “DO NOT TERMINATE.”

Instructions to cancel a grant not yet awarded are as follows:

e GS deletes the award document

PO deletes the FR. If there is no PO, GS should submit a ticket to hotline to have it deleted.
e PO/GS works with FCO to decommit the CN and delete the CN.
Thank you,

EPA_00297025
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 23 of 72

Melissa

From: Wise, Melissa

Sent: Wednesday, March 12, 2025 4:10 PM

To: OMS-OGD-GMOs Only <OMS-OGD-GMOs-Only @epa.gov>

Cc: Regional Mission Support Division - Directors <Regional Mission Support Division Directors@epa.gov>; Regional
Mission Support Division - Deputy Directors <Regional Mission Support Division Deputy Directors@epa.gov>; Coogan,
Daniel <Coogan.Daniel@epa.gov>

Subject: PLEASE PAUSE: Grant Cancellations/Terminations

Importance: High

Good afternoon, GMOs,

Effective immediately, please pause all grant cancellations/terminations. | will notify you when this may be
resumed.

Thank you,

Melisa We

Director, Office of Grants and Debarment
Office of Mission Support

U.S. Environmental Protection Agency
1300 Pennsylvania Ave., NW
Washington, D.C. 20460

(202) 924-9911

EPA_00297026
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 24 of 72

Message

From: Sykes, Karen [Sykes.Karen@epa.gov]

Sent: 4/1/2025 4:54:16 PM

To: Wise, Melissa [wise.melissa@epa.gov]

cc: Sanders, Amy [Sanders.Amy@epa.gov]; Dolan, Sheila [dolan.sheila@epa.gov]; Coogan, Daniel
[Coogan.Daniel@epa.gov]; Tsing-Choy, Kathy [Tsing-Choy.Kathy@epa.gov]; Sykes, Karen [Sykes.Karen@epa.gov]

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Thank you, Melissa,
I spoke with Chris, R6 GMO, on yesterday and he provided information and instructions for NGGS.

Kathy, I will get these awards updated and provide confirmation once completed.

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes.karen@epa.gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that | do not expect a
response until you are back at work during your normal hours.

From: Wise, Melissa <wise.melissa@epa.gov>

Sent: Tuesday, April 1, 2025 11:51 AM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Cc: Sanders, Amy <Sanders.Amy@epa.gov>; Dolan, Sheila <dolan.sheila@epa.gov>; Coogan, Daniel
<Coogan.Daniel@epa.gov>; Tsing-Choy, Kathy <Tsing-Choy.Kathy@ epa.gov>

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Hi Karen,

Okay, thank you for verifying. You should proceed to rescind these terminations. Also, I’m looping in Kathy Tsing-
Choy for her awareness to update Column H in the termination spreadsheet (or you can do that since the spreadsheet is a
shared document).

Here is an example of what the Region 6 GMO sent to the recipient (attached) to rescind.

Thank you,
Melissa

From: Sykes, Karen Sykes.Karen@epa.gov
Sent: Tuesday, April 1, 2025 12:44 PM
To: Wise, Melissa wise.melissa@epa.gov

EPA_00297027
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 25 of 72

Ce: Sykes, Karen <Sykes.Karen@epa.gov>
Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Hi Melissa

In checking the award regarding the administrative general t&c dated 10/1/24, overlooked the programmatic t&cs which
contains an additional link that referenced the FY 24 general terms & conditions.

I have went back and checked the programmatic t&cs, yes, the termination of these 3 awards should be rescinded as they
link to the administrative general t&c dated 10/1/24..

Karen Sykes

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)
Acquisition & Assistance Branch

77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604

Office # 312-886-7571

Mobile # 312-978-3107

Sykes.karen@epa.gov

USEPA, Region 5

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that I do not expect a
response until you are back at work during your normal hours.

From: Wise, Melissa <wise.melissa@epa.gov>

Sent: Tuesday, April 1, 2025 11:23 AM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Subject: RE: Review Notes of 3 Terminated Community Change Grants - R5

Hi Karen,

Consistent with my message to the GMOs on 3/25 (attached), I requested that GMOs double-check Column H to
determine if the October 1, 2024, were, in fact, incorporated.

Please review your grants to determine if these should be rescinded. Please let me know what your analysis reveals.

Thank you,
Melissa

From: Sykes, Karen <Sykes.Karen@epa.gov>

Sent: Monday, March 31, 2025 3:32 PM

To: Wise, Melissa <wise.melissa@epa.gov>

Ce: Sykes, Karen <Sykes.Karen@epa.gov>

Subject: FW: Review Notes of 3 Terminated Community Change Grants - R5

Hi Melissa
RS, reaching out for assistance regarding 3 awards that we terminated on last week.
Jacob Burney reached out to my RA, so I have been instructed by my DD/SRO regarding these.

Question — can these be rescinded based on the programmatic t&cs he references with his chart?

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2:25-Ccv-02152-RMG

Thank you.

Karen Sykes

Date Filed 04/21/25

Assistance Section II Supervisor/R5 Grants Management Officer

IL/IN/MI WI Tribes (Bad River/Forest County/GL Fish & Wildlife/Ho Chunk/LacCourte/Lac Du Flambeau)

Acquisition & Assistance Branch
77 West Jackson Blvd., MA-10J

Chicago, Illinois 60604
Office # 312-886-7571
Mobile # 312-978-3107

Sykes. karen@epa.gov

USEPA, Region 5

Entry Number 129-4

Page 26 of 72

Please note that | sent this at a time that was convenient for me without expectation for a response outside of
business hours. If you receive this email outside of your normal working hours, please know that | do not expect a
response until you are back at work during your normal hours.

From: Sanders, Amy <Sanders.Amy@epa.gov>

Sent: Monday, March 31, 2025 2:07 PM

To: Sykes, Karen <Sykes.Karen@epa.gov>

Cc: Dolan, Sheila <dolan.sheila@epa.gov>

Subject: FW: Review Notes of 3 Terminated Community Change Grants - R5

Give me a call when you get a min.

From: Burney, Jacob <Burney.Jacob@epa.gov>

Sent: Monday, March 31, 2025 12:29 PM

To: Newton, Cheryl <Newton.Cheryl@epa.gov>

Cc: Segovia, Theresa <Segovia. heresa@epa.gov>

Subject: Review Notes of 3 Terminated Community Change Grants - R5

Greetings Cheryl:

FYI — Region 5 staff told me today that 3 of the Region 5 CCGs were sent termination notices last week.

These termination notices appear to have been sent in error. Last week, Region 6 had similarly sent out several CCG
terminations with similar issues as the three you have in Region 5. Region 6 rescinded those terminations. For the 3
Region 5 terminations, while the award documents do link to the 10/1/2023 General Administrative Terms & Conditions,
all 3 award documents also link to the 10/1/2024 updated General Administrative Conditions and the CCG Programmatic
T&Cs which has an explicit termination provision precluding unilateral termination for change in agency priorities.
Region 6 rescinded a termination for this exact scenario.

I plan to discuss with Karen Sykes (R5 GMO) tomorrow. She’s busy today. Let me know if you have any concerns /
want to be added to the meeting / or just want me to let you know what next steps are after I discuss with Karen.

I’ve included my review notes for all 3 terminated grants below and attached the original award documents:

Program
Code

Grant
Family
(FAIN)

Was the
Updated
Termination
T&C after
10/1/2024
included?

Applicant Name

Details

EPA_00297029
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 27 of 72

In the original award document dated
12/04/2024, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, a link to
the 10/1/2024 General Admin T&Cs is
included on page 37 of the document
along with a link to all the CCG
programmatic T&Cs. The CCG
Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the
T&Cs or adequate evidence of waste,
5F 00E04045 Ne Yes CITY OF EVANSVILLE fraud, and abuse.

In the original award document dated
12/04/2024, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, under the
Programmatic T&C section a link to the
10/1/2024 General Admin T&Cs is
included on page 8 of the award
document along with a link to all the
CCG programmatic T&Cs. The CCG
Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the
T&Cs or adequate evidence of waste,
5F 00E04044 Ne Yes ECOWORKS fraud, and abuse.

In the original award document dated
1/07/2025, a link to the 10/1/2023
General Admin T&Cs is included in the
Administrative T&C section of the
award document. However, under the
Programmatic T&C section a link to the
10/1/2024 General Admin T&Cs is
included on page 9 along with a link to
all the CCG programmatic T&Cs. The
CCG Programmatic T&Cs includes an
explicit Termination provision
precluding unilateral termination except
for substantial noncompliance with the

smc6045 - SOUTHWESTERN T&Cs or adequate evidence of waste,
5F 00E04058 Ne Yes MICHIGAN COMMISSION fraud, and abuse.
Regards,
Jacob

Jacob J. Burney | Office Director (Acting) | Office of Community Support | Tel:202.564.2907 | US EPA 1200 Pennsylvania Ave. NW
(2201A) Washington, DC 20460 | Burney. Jacob@epa.gov

EPA_00297030
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 28 of 72

Message

From: /O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=7AA3C293E3F94FE6A0132382B42F0B23-DCOOGAN
[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=7AA3C293E3F94FE6A0132382B42FO0B23-DCOOGAN]

Sent: 3/18/2025 1:29:32 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]

Subject: Grant Program Status - Current Decisions + Priorities

Attachments: CFDA_CGER_Process_dc.xlsx

Kathryn, as a follow up to our discussion yesterday (and thanks for your comments/ edits on the guidance—I will work
through those today), | want to make sure we maintain progress on the Grant Program review list. To the master
tracker, | have added two columns (Excel columns E and F):

1. Agency Decision: This reflect that we have a decision on the grant program from leadership and what we have
detailed in columns G-J (i.e., how to handle awarded grants based on their stage in the life cycle) is correct. Please note
that | have tagged 51 of the 128 grant programs as having a decision. While we did not cover 51 programs at our last
decisions’ meeting, | made assignments based on other discussions and the daily reviews. Please check this list and let
me know if you see any mis-assignments (or any we need to move to ‘still needing a decision’).

2. Next Meeting Priority: This is a list of what | think are the next programs we should review as a group. They
primarily fall into one of six grant categories (| have added others, like PPGs, that don’t neatly fit but we need a decision
on asap):

a. Research

b. Tribal

C. SEEs/ training/ education

d. Major IRA programs (remaining)

e. International

f. Surveys, studies, etc

Can you please look through this list and let me know if you think this is a good set to prioritize for our next meeting.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 29 of 72
Message

\From: POLITICO Pro's Morning Energy
[newsletter@email.politicopro.com]

Sent: 2/6/2025 10:46:01 AM Caution: This email originated from outside EPA, please exercise
To: Coogan, Daniel additional caution when deciding whether to open attachments or
[Coogan.Daniel@epa.gov] click on provided links.

Subject:EPA'S frozen funds spark confusion

View in browser

CATHERINE MOREHOUSE

With help from Ben Lefebvre, Josh Siegel, James Bikales and Ry Rivard

fon 0] od Gia p.

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— EPA funding is still inaccessible to many recipients across the country,
causing turmoil for awardees and heartburn for lawmakers whose states are
expecting the money.

GOOD MORNING! IT’S THURSDAY. I’m your host, Catherine Morehouse.

David Brown of Constellation Energy is our trivia winner for knowing that the word

Wednesday comes from the Norse god “Odin,” aka “Odin’s day.”

For today: For what movie did Meryl Streep secure her first Oscar nomination?

Send your tips and trivia answers to me at cmorehouse@politico.com and follow me

on X at cmorehouseio and BlueSky at cmorehouse.

Check out the POLITICO Energy podcast — all the energy and environmental politics

and policy news you need to start your day. Listen and subscribe for free at

politico.com/energy-podcast. On today’s episode: EPA unfreezes some

environmental funding

Listen to today’s POLITICO Energy podcast!

Saat RC a

“IT'S CHAOS, AND THAT'S THE POINT": The status of funding for several EPA
programs that both Red and Blue districts across the country are banking on remains

up in the air, despite the agency’s own directive to keep money flowing.

The internal EPA memo that POLITICO scooped on Tuesday cites a court directive

barring the agency from upholding the Trump administration’s now-withdrawn
attempt at a widespread federal freeze. But the money remains inaccessible to
recipients across the country and EPA has still not clarified what programs it has

unfrozen.
The confusing result has left lawmakers on Capitol Hill scrambling to ensure that

dollars already promised to districts across the country continue to flow — and

sparked fury from Democrats who accuse the administration of creating an

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atmosphere of “chaos” and “incompetence,” our Josh Siegel and James Bikales

report.
Some programs have sputtered back to life, including EPA’s brownfield remediation
program. But the portal for EPA’s $5 billion Clean School Bus program, for instance,

remained inaccessible Wednesday, according to two recipients.

And in a letter sent to the president’s desk Wednesday, Democratic lawmakers on

the House Sustainable Energy and Environment Coalition compiled a list of
numerous other programs where funding remains inaccessible — including several
under EPA — aimed at lowering state energy bills, maintaining clean air and water,

and rebuilding after natural disasters.

“It’s chaos, and that’s the point,” Sen. Martin Heinrich of New Mexico, the top

Democrat on the Energy Committee, said Wednesday.

NEXT ON THE CHOPPING BLOCK? As uncertainty swirls around EPA funding,
Trump’s White House will soon determine the fate of the agency’s environmental

justice office, staff was told Wednesday.

Theresa Segovia, the acting head of the agency’s office focused on alleviating
pollution for low-income communities and communities of color, told employees
that Trump political appointees are currently compiling a list of employees who work

on those issues, two of the office’s staffers told our Annie Snider.

Career leaders have no input on the list and its scope is unclear, according to staff.
But the office’s future is being assessed in light of the president’s orders halting
diversity equity and inclusion programs and could impact the 220 people who work

on EJ-related issues. More here from Annie.

Oo} a et

ME FIRST — DEMS SEEK ANSWERS FROM WRIGHT ON DOE ENERGY
JUSTICE OFFICE: Sen. Martin Heinrich (D-N.M.), ranking member of the Energy

Committee, is sending a letter today to DOE Secretary Chris Wright seeking

assurance he won’t abolish the agency’s Office of Energy Justice and Equity in light
of Trump’s executive order targeting DEI and environmental justice positions within

the government.

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Heinrich and the other Democrats — Sens. Ron Wyden of Oregon, Alex Padilla of
California, and Mazie Hirono of Hawaii — are also pressing Wright to reinstate

employees from that office who were put on administrative leave.

They note the office was created under the 2021 Department of Energy Organization
Act in order to ensure that minorities are afforded an opportunity to participate fully

in DOE programs.

Heinrich and the other Democrats also point out that Wright promised repeatedly to

“follow the law” in his confirmation hearing.

“The law in this case is clear,” they wrote to Wright in a letter shared first with ME.
“The law does not allow the Secretary of Energy to terminate the Office of Energy
Justice and Equity. Only Congress has that power.”

ENHANCING THE EOR TAX CREDIT: Republican senators are re-upping a bill that

would crank up tax credits for using carbon dioxide to squeeze more oil out of wells.

The Enhancing Energy Recovery Act (S. 425) that Sens. John Barrasso (Wyo.),
James Lankford (Okla.), John Hoeven (N.D.), Jim Justice (W.Va.) and Tim Sheehy

(Mont.) introduced echoes language from a bill floated last Congress — boosting the

credit for CO2 used in enhanced oil recovery to up to $85 a ton and bringing it closer

to the level the Inflation Reduction Act set for CO2 that companies sequestered.
One big difference? The bill the senators unveiled yesterday would amend the
Internal Revenue Code to make the adjustment and not the IRA as the previous

version did.

TRANSFORMING 45x: Sens. Jerry Moran (R-Kan.) and Catherine Cortez Masto (D-

Nev.) are introducing a bill today aimed at expanding the Advanced Manufacturing
Production Tax Credit under the Inflation Reduction Act to spur U.S. production of

critical electric grid distribution transformers.

The tax credit, known as “45X” currently awards production tax credits for clean
energy components including some inverters, battery components and critical
minerals. Electrical manufacturers and utilities have been sounding the alarm for
years around growing supply chain issues for distribution transformers, which play a

critical role in distributing power safely to homes and businesses.

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EPW CLEARS BIPARTISAN BILLS: The Senate Environment and Public Works
Committee on Wednesday unanimously advanced two bipartisan bills that had
cleared the committee last Congress, but never made it into law. One bill, S. 347,
would reauthorize EPA’s brownfields remediation program for five years, while the

STEWARD Act, S. 351, aims to improve recycling and composting systems.

The hearing featured little debate on the bills but Democrats raised concerns about
the Trump administration’s funding pause. It was the first EPW hearing for newly
appointed Sen. Jon Husted (R-Ohio), who replaced Sen. Jerry Moran (R-Kan.) on
the panel.

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EPA ASKS COURT NOT TO RULE ON POWER PLANT STANDARDS: EPA on
Wednesday night asked the D.C. Circuit Court of Appeals to hold off on issuing a
ruling over the Biden administration's power plant climate regulation, saying it
needs time to consider what to do — a path all but guaranteed to lead to repeal. The

court heard arguments in the case in December, during which the judges spent hours

considering whether carbon capture technology is adequately demonstrated to form

the basis of the rule, Reg. 2060-AVog.

“Due to the recent change in administration on January 20, 2025, there is new EPA
leadership. Those new Agency officials are currently in the process of onboarding
and familiarizing themselves with the issues presented in this case and related

litigation,” the agency wrote in a motion. It asked for a 60 day abeyance “to provide

new leadership with sufficient time to familiarize themselves with these issues and

determine how they wish to proceed.”

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NJ CLIMATE SUIT TOSSED — Mercer County Superior Court Judge Doug Hurd
tossed New Jersey's lawsuit against oil companies alleging they deceived the public

about climate change and should pay up.
The Wednesday decision, citing both state and federal reasons the lawsuit’s claims

don't hold up, is the latest setback for blue states and cities that have sued oil

companies over climate change. The case was filed in fall 2022 by the Attorney

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General’s Office, the Department of Environmental Protection and the Division of

Consumer Affairs.

Judges have dismissed similar lawsuits in the past month from New York City,
Annapolis and Anne Arundel County, Md. A few lawsuits are proceeding in Delaware

and Hawaii. New Jersey is planning an appeal.

In its suit, New Jersey rehashed evidence that fossil fuel companies obfuscated the
role of their products in causing climate change. The lawsuit also alleged that the
state suffers unique damages and relies upon research showing how “climate crisis-
caused environmental changes” contributed to the destruction brought by recent
hurricanes and tropical storms and continues to imperil New Jersey’s people and

their property.

OM AS 0m PG ae)

— ME FIRST — Illinois Gov. JB Pritzker and Cleveland Mayor Justin M. Bibb
are now co-chairs of “America Is All In,” a coalition of climate leaders across the
country that includes local governments, universities, businesses, tribes, states and
more. “It’s clear that states like Illinois and cities, businesses, and institutions will be

where climate action presses forward,” Pritzker said in a statement.

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"NOAA Employees Told to Pause Work With ‘Foreign Nationals’," via WIRED

"Colombian President Cancels Oil Joint Venture With U.S. Company," via

OilPrice.Com

“Trump Mulls Canceling Loans From $400 Billion Green Bank,” via Bloomberg

“The scramble to save critical climate data from Trump’s war on DEI,” via Grist

07 a Wn We Ov W Oa a Ag

9 a.m. — Nuclear Regulatory Commission holds a meeting for a briefing on the

"Accelerating Deployment of Versatile, Advanced Nuclear for Clean Energy

(ADVANCE) Act" activities.

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10 a.m. — The House Judiciary Administrative State, Regulatory Reform, and
Antitrust Subcommittee holds a hearing on "California Fires and the Consequences

of Overregulation."

10 a.m. — The Atlantic Council holds a virtual discussion on "A New Era for Nuclear

Energy."
10 a.m. — The House Natural Resources Energy and Mineral Resources
Subcommittee holds a hearing on "Now Ore Never: The Importance of Domestic

Mining for U.S. National Security."

1 p.m. — The Cato Institute holds a virtual forum on "Exploring Energy Policy under

the Trump Administration."

THAT’S ALL FOR ME!

Follow us on Twitter

Matt Daily @dailym1

Gloria Gonzalez @ggonzalez2176

Zack Colman @zcolman

Alex Guillen @alexcguillen

Ben Lefebvre @bjlefebvre

Annie Snider @annelizabeth18

Kelsey Tamborrino @kelseytam
Catherine Morehouse @cmorehouse10
Josh Siegel @SiegelScribe

James Bikales @jamepdx

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 36 of 72

This email was sent to coogan.daniel@epa.gov by: POLITICO 1000 Wilson Blvd Arlington, VA, 22209,
USA

EPA_00297146
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 37 of 72

Message

From: Scott, Gregory [Scott.Gregory@epa.gov]
Sent: 3/25/2025 7:51:03 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]

Attachments: 0-gcctx-d1-07eb86f4c1e4fa4345c91f7a80cd0e6c

you will have this in your binder but quite a few topics for you for the Lead Region call:

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RTO

* GSA Space Match issues

* GSA Cars

* Transit subsidy increases

¢ What’s the obligation for the Building vs the Region/NPM?
¢ IT equipment provisioning — centralized?

Compliance Review Form - NGGS
Grant Terminations and Dispute Decision Officials (DDOs)

Awards Allocation — timing/dollar value?
PARS tied to strategic plan including climate change, etc.?

Around the Room

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 39 of 72

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 3/20/2025 8:40:42 PM

To: Wise, Melissa [wise.melissa@epa.gov]
Wise, Melissa

Hi Dan. In light of Caitlin's email, I updated 00A01313 to the DO NOT TERMINATE status, even though their
T&Cs were not updated after Oct. 1. Erring on the side of caution. Let me know if you want me to switch back.
The other grant was already identified as DO NOT TERMINATE.

Good call--thank you

EPA_00297150
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 40 of 72

Message

From: Jehling, Erica [Jehling.Erica@epa.gov]
Sent: 3/7/2025 2:36:27 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]

Attachments: 0-gcctx-d2-2ac9529a2703acOc8ce0d5d4ff367683

View 2: filtered by recommendation to cancel, sorted by unliquidated obligation

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Date Filed 04/21/25

Entry Number 129-4

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Notes (**this
a 2 eee Bea oe! Grants Awarded Prior ee CGER Designation (**this column will ae ae s = ‘Cumulative Unliquidated Pending Grant
e eae CFDA/Assistance Listing Title ee CFDA Unawarded Grants to October 1, 2024 After on a eer ne eee anne : Action Post Team Review Ao Total Obligated Pen Awards (3.3.25) Status
ing ing 2 actual
es 7 + v + 7 7 i + 7 + 7 <i 7 +
66.959 Greenhouse Gas Reduction Fund: Section |5H No new award Cancel Pending & Terminate Existing IRA, I,
134{a)(1) - Zero Emission Technologies Cancel any actions but hold on Justiced0/ IRA
Grant Program unawarded/ Terminate grants and Jany terminations .
unobligated actions pay final invoices until further $7,000,000,000 $6,726,500,000 $6,700,810,914
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unobligated actions pay final invoices. until further aml a tee : a 7 a
and decommit funding. discussion with
OGC.
66.051 Clean Ports Program 5¥ No new award Cancel Pending & Terminate Existing |!RA
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unawarded/ Terminate grants and |any terminations .
unobligated actions | pay final invoices until further $2,938,197,940 $2,938,197,940/  $2,937,895,435 $1,800,000
and decommit funding. discussion with
OGC.
66.605 Performance Partnership Grants BG No new award Cancel Pending & Terminate Existing
Cancel any actions but hold on
unawarded/ Terminate grants and |any terminations 51,057,883,457 $1,054,612,513 5218,590,623 533,886,099
unobligated actions pay final invoices until further * . , : . ‘ . 7 . "
and decommit funding. discussion with
OGC.
66.034 Surveys, Studies, Research, OP, OX, 54, 5X, PM, No new award Cancel Pending & Terminate Existing
investigations, Demonstrations, and xX, XA, SW Cancel any actions but hold on
Special Purpose Activities Relating to the unawarded/ Terminate grants and Jany terminations
Clean Air Act unobligated actions pay final invoices until further S526120.958 SL 0b4 241 SL SL098.255
and decommit funding. discussion with
OGC.
Surveys, Studies, Investigations, x6 No new award Cancel Pending & Terminate Existing
Demonstrations, and Training Grants - Cancel any actions but hold on
Section 1442 of the Safe Drinking Water unawarded/ Terminate grants and |any terminations
Act unobligated actions pay final invoices until further SASSER ESD ESE Ba? BREE
and decommit funding. discussion with
OGC.
66.924 Recycling Education and Outreach ay Proceed but ensure No action. No action. Cancel Pending & Terminate Existing EI - cancel but
workplans and budgets Travis has
align with approved.
Administration (INA) $31,280,956 $31,280,956 $27,279,011
priorities.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 42 of 72

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 3/11/2025 12:25:15 PM

To: Drinkard, Andrea [Drinkard.Andrea@epa.gov]

For your info, the terminations/ cancellations haven't all occurred yet. Some have but most are in the works.
Some will take a few months based on the terms and conditions in the grant but I know they want to get out the
comms

EPA_00297153
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 43 of 72

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 1/24/2025 7:21:23 PM

To: Drinkard, Andrea [Drinkard.Andrea@epa.gov]

We're getting a lot of feedback from the regions on grants that the acting RAs received direction from Chad that
they are not to talk with recipients even on awarded grants. This was the first I have heard. Do you know what
is being communicated? We have a pause on all IIJA/ IRA and EJ grants but for all of our other grants that are
awarded, project officers need to talk with recipients on workplans, etc. So we need to provide the clear
direction on what communication can happen (if there is in fact a restriction). Any idea on what's going on?

EPA_00297154
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 44 of 72

Message

From: Wise, Melissa [wise.melissa@epa.gov]
Sent: 1/27/2025 5:44:13 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]

I want to make sure I understand. The new direction will be pausing all drawdowns in ASAP for IIJA, IRA,
and EJ grants, regardless of when they were awarded. Is that correct? Notify all of these grant recipients?

EPA_00297155
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 45 of 72

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 1/23/2025 7:43:53 PM

To: Wise, Melissa [wise.melissa@epa.gov]

Could we do an impromptu GMO call tomorrow? I just talked with Kimberly. Everything we are saying is
correct. But because the politicals are still catching up on everything, there might be something else they want
to pause that they have not gotten too yet. I just want to talk through what we know we can't move on (IIJA,
IRA and EJ) and what we should likely pause (anything climate related).

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 46 of 72

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 1/23/2025 7:45:45 PM

To: Rogers, JoanB [Rogers.JoanB@epa.gov]; Legare, Pamela [Legare.Pamela@epa.gov]

I was just talking with Kimberly because this came up in the grants space. While we have been clear with folks
about not awarding anything new on IIJA, IRA or EJ work. There's other work that the politicals might want to
pause but just haven't gotten too yet (like climate). Is there a way where we could see all contract funding
actions in advance to determine if we want to pause until we get more guidance from the politicals?

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 47 of 72

Message

From: Payne, James (Jim) [payne.james@epa.gov]

Sent: 3/11/2025 11:07:03 PM

To: Tisa, Nathaniel [Tisa.Nathaniel@epa.gov]; Hall, Jeffrey [Hall Jeffrey A@epa.gov]
cc: Corlett, Thomas [Corlett. Thomas@epa.gov]

Subject: 8 Notices of Termination

Attachments: Notice of Termination; Notice of Termination; Notice of Termination; Notice of Termination; Notice of Termination;
Notice of Termination; Notice of Termination; Notice of Termination

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 48 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:28:26 PM

To: pete@nativecdfi.net

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Native CDFI Network.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

EPA_00297181
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 49 of 72

U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Pete Upton

CEO and Board Chair
Native CDFI Network
PO Box 5683

Grand Island, NE 68802
pete @nativecdfi.net

Re: Notice of Termination
Dear Pete Upton,

Pursuant to the U.S. Environmental Protection Agency's (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84096101,
awarded to Native CDFI Network under the Greenhouse Gas Reduction Fund (“GGRF”), effective
immediately. This termination is based on substantial concerns regarding program integrity, the award
process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s priorities, which
collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. II, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration's
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections III.R and III.S.3 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Acting Deputy Administrator
U.S. Environmental Protection Agency

cc:
e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)
e U.S. Department of Justice
e U.S. Department of the Treasury
U.S. House of Representatives
U.S. Senate
Citibank, N.A.

EPA_00297183
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 51 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:27:08 PM

To: dgambrell@acc1.org

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Appalachian Community Capital - ACC.pdf

Please see attached. Thank you.

Chad MclIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
mcintosh.chad@epa.gov

EPA_00297184
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 52 of 72

U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Donna Gambrell

President and CEO

Appalachian Community Capital
110 Peppers Ferry Rd NW
Christiansburg, VA 24073
dgambrell@acc1.org

Re: Notice of Termination
Dear Donna Gambrell,

Pursuant to the U.S. Environmental Protection Agency's (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84094401,
awarded to Appalachian Community Capital under the Greenhouse Gas Reduction Fund (“GGRF”),
effective immediately. This termination is based on substantial concerns regarding program integrity,
the award process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s
priorities, which collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 53 of 72

value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. II, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections III.R and III.S.3 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

bc, MJANV

Acting Deputy Administrator
U.S. Environmental Protection Agency

ct:

U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
U.S. EPA, Office of Mission Support (OMS)

U.S. EPA, Office of General Counsel (OGC)

U.S. Department of Justice

U.S. Department of the Treasury

U.S. House of Representatives

U.S. Senate

Citibank, N.A.

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EPA_00297186
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 54 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:26:36 PM

To: akirkwood@justiceclimatefund.org

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Justice Climate Fund - JCF.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

EPA_00297187
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 55 of 72

U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Amir Kirkwood

CEO

Justice Climate Fund, Inc.

910 17th St NW Suite 820
Washington, D.C. 20006
akirkwood@justiceclimatefund.org

Re: Notice of Termination
Dear Amir Kirkwood,

Pursuant to the U.S. Environmental Protection Agency’s (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84094101,
awarded to Justice Climate Fund, Inc. under the Greenhouse Gas Reduction Fund (“GGRF”), effective
immediately. This termination is based on substantial concerns regarding program integrity, the award
process, programmatic fraud, waste, and abuse, and misalignment with the Agency's priorities, which
collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 56 of 72

value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. II, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections III.R and III.S.3 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide acomprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

LC, Meo

W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

cc:
e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)
e U.S. Department of Justice
e U.S. Department of the Treasury
e U.S. House of Representatives
U.S. Senate
e Citibank, N.A.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 57 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:25:55 PM

To: cmahon@inclusiv.org

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Inclusiv.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

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U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Cathie Mahon

CEO

Inclusiv, Inc.

39 Broadway, Suite 2140
New York, NY 10006
cmahon@inclusiv.org

Re: Notice of Termination
Dear Cathie Mahon,

Pursuant to the U.S. Environmental Protection Agency’s (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No, 84094301,
awarded to Inclusiv, Inc. under the Greenhouse Gas Reduction Fund (“GGRF”), effective immediately.
This termination is based on substantial concerns regarding program integrity, the award process,
programmatic fraud, waste, and abuse, and misalignment with the Agency's priorities, which collectively
undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 59 of 72

value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. Il, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections III.R and III.S.3 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide acomprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

tC, Wo

W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

cc!
e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)
e U.S. Department of Justice
e U.S. Department of the Treasury
U.S. House of Representatives
U.S. Senate
e Citibank, N.A.

EPA_00297192
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 60 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:25:12 PM

To: abell@OFN.org

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Opportunity Finance Network - OFN.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 61 of 72

U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Amber Bell

Executive Vice President
Chief Strategy Officer
Opportunity Finance Network
901 D Street SW, Suite 1050
Washington, D.C. 20024
abell@ofn.org

Re: Notice of Termination
Dear Amber Bell,

Pursuant to the U.S. Environmental Protection Agency's (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84093901,
awarded to Opportunity Finance Network under the Greenhouse Gas Reduction Fund (“GGRF”),
effective immediately. This termination is based on substantial concerns regarding program integrity,
the award process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s
priorities, which collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the
need for rigorous oversight and accountability in the administration of public funds. The Administrator

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 62 of 72

value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. Il, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections III.R and III,S.3 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

WC, Mo

W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

cc:
e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)

e U.S. Department of Justice

e U.S. Department of the Treasury
e U.S. House of Representatives

e §=U.S. Senate

e Citibank, N.A.

EPA_00297195
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 63 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:24:15 PM

To: tim [tim@powerforwardcommunities.org]

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Power Forward Communities - PFC.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

EPA_00297196
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U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Tim Mayopoulos

CEO

Power Forward Communities, Inc.
11000 Broken Land Parkway, Ste 700
Columbia, MD 21044
tim@powerforwardcommunities.org

Re: Notice of Termination
Dear Tim Mayopoulos,

Pursuant to the U.S. Environmental Protection Agency's (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84096001,
awarded to Power Forward Communities, Inc. under the Greenhouse Gas Reduction Fund (“GGRF”),
effective immediately. This termination is based on substantial concerns regarding program integrity,
the award process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s
priorities, which collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 65 of 72

value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. II, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections III.S and III.7.4 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

UC, Melute7

W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

CG
U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
U.S. EPA, Office of Mission Support (OMS)

U.S. EPA, Office of General Counsel (OGC)

U.S. Department of Justice

U.S. Department of the Treasury

U.S. House of Representatives

U.S. Senate

Citibank, N.A.

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EPA_00297198
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 129-4 Page 66 of 72

Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:23:15 PM

To: eli@coalitionforgreencapital.com

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Coalition for Green Capital - CGC.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

EPA_00297199
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U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Eli Hopson

Chief Administrative and Development Officer
Coalition for Green Capital

1255 Union St. NE, 7th floor

Washington, DC 20002
eli@coalitionforgreencapital.com

Re: Notice of Termination
Dear Eli Hopson,

Pursuant to the U.S. Environmental Protection Agency's (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84094201,
awarded to Coalition for Green Capital under the Greenhouse Gas Reduction Fund (“GGRF”), effective
immediately. This termination is based on substantial concerns regarding program integrity, the award
process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s priorities, which
collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. Il, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections II|.S and III.T.4 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

UC Mehte 7)

W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

CC:
e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)

U.S. EPA, Office of General Counsel (OGC)

U.S. Department of Justice

U.S. Department of the Treasury

U.S. House of Representatives

U.S. Senate

Citibank, N.A.

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Message

From: McIntosh, Chad [mcintosh.chad@epa.gov]

Sent: 3/11/2025 10:21:45 PM

To: Bafford, Beth [BBafford@climateunited.org]

cc: GGRFoversight [GGRFoversight@epa.gov]; Payne, James (Jim) [payne.james@epa.gov]; Molina, Michael
[molina.michael@epa.gov]; Zavala, Julie [Zavala Julie@epa.gov]; Amidon, Eric [Amidon.Eric@epa.gov]

Subject: Notice of Termination

Attachments: 2025.03.11 EPA Notice of Termination Climate United Fund - CUF.pdf

Please see attached. Thank you.

Chad McIntosh, P.E.

Acting Deputy Administrator

U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW

3412 WJC-North | Mail Code 1102
Washington, DC 20004

Tel. No. (202) 787-0580
meintosh.chad@epa.gov

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U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Elizabeth Bafford

CEO

Climate United Fund

7550 Wisconsin Ave, 3rd floor
Bethesda, MD 20814
BBafford@climateunited.org

Re: Notice of Termination
Dear Elizabeth Bafford,

Pursuant to the U.S. Environmental Protection Agency’s (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84094001,
awarded to Climate United Fund under the Greenhouse Gas Reduction Fund (“GGRF”), effective
immediately. This termination is based on substantial concerns regarding program integrity, the award
process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s priorities, which
collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the

need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-

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value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. Il, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections II|.S and III.T.4 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

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W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

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e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)
e U.S. Department of Justice
U.S. Department of the Treasury
U.S. House of Representatives
U.S. Senate
Citibank, N.A.

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Message

From: OGC_CTS_Communication [OGC_CTS_Communication@epa.gov]

Sent: 3/12/2025 2:52:07 PM

To: Wilson, Adam [wilson.adam@epa.gov]

cc: OGC CTS Front Office [OGC_CTS_Front_Office@epa.gov]; Talbert-Duarte, Angelia [talbert-duarte.angelia@epa.gov]
Subject: OGC Task: National Urban League et al v. Trump et al, Case No. 25-cv-471 , reviewed by Payne, James (Jim) -

Approved without Comment
Attachments: Complaint -- Nat'l Urban League, et al. v. Donald Trump, et al., 125-cv-00471.pdf; NUL v. Trump - Response Draft --
EPA Comments 3.12.25.docx; Ps Motion for Pl -- NUL v. Trump.pdf

Importance: Low

All tasks have been completed for the request linked below.

The entry has been: Approved without Comment

First Approver Comments (if any):

Second Approver Comments (if any):

CLICK. HERE

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